
712 S.E.2d 883 (2011)
LANVALE PROPERTIES, et al.
v.
COUNTY OF CABARRUS, et al.
No. 438PA10-1.
Supreme Court of North Carolina.
August 3, 2011.
G. Nicholas Herman, Chapel Hill, for County of Cabarrus.
James E. Scarbrough, Concord, for Lanvale Properties, LLC, et al.
Richard M. Koch, for County of Cabarrus.
Christy E. Wilhelm, Concord, for County of Cabarrus.
J. Michael Carpenter, General Counsel, for N.C. Home Builders Association.
Daniel C. Higgins, Raleigh, for N.C. Home Builders Association.
James Demay, Concord, for Lanvale Properties, LLC.
The following order has been entered on the motion filed on the 2nd of August 2011 by Plaintiff for Extension of Time to File Brief:
"Motion Allowed by order of the Court in conference, this the 3rd of August 2011."
Plaintiff shall have up to and including the 7th day of September 2011 to file and serve his/her brief with this Court.
